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     SO. CAL. EQUAL ACCESS GROUP
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 5
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 6   MICHAEL RHAMBO
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     MICHAEL RHAMBO,                                  Case No.:
11
                  Plaintiff,                          COMPLAINT FOR INJUNCTIVE
12                                                    RELIEF AND DAMAGES FOR DENIAL
           vs.                                        OF CIVIL RIGHTS OF A DISABLED
13                                                    PERSON IN VIOLATIONS OF
14                                                    1. AMERICANS WITH DISABILITIES
                                                      ACT, 42 U.S.C. §12131 et seq.;
15   DELI GROUP, INC; and DOES 1 to 10,
                  Defendants.                         2. CALIFORNIA’S UNRUH CIVIL
16                                                    RIGHTS ACT;
17                                                    3. CALIFORNIA’S DISABLED
                                                      PERSONS ACT;
18
                                                      4. CALIFORNIA HEALTH & SAFETY
19                                                    CODE;
20                                                    5. NEGLIGENCE
21
22
23
           Plaintiff MICHAEL RHAMBO (“Plaintiff”) complains of Defendants DELI

24
     GROUP, INC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

25
                                              PARTIES

26
           1.     Plaintiff is a California resident with a physical disability. Plaintiff suffers

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     from paraplegia due to T12 vertebrae thoracic spinal cord injury and is substantially

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 1   limited in his ability to walk. Plaintiff requires the use of a wheelchair at all times when
 2   traveling in public.
 3            2.   Defendants are, or were at the time of the incident, the real property owners,
 4   business operators, lessors and/or lessees of the real property for a restaurant
 5   (“Business”) located at or about 559 E. Arrow Hwy., Glendora, California.
 6            3.   The true names and capacities, whether individual, corporate, associate or
 7   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 8   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 9   Court to amend this Complaint when the true names and capacities have been
10   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
11   fictitiously named Defendants are responsible in some manner, and therefore, liable to
12   Plaintiff for the acts herein alleged.
13            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
14   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
15   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
16   the things alleged herein was acting with the knowledge and consent of the other
17   Defendants and within the course and scope of such agency or employment relationship.
18            5.   Whenever and wherever reference is made in this Complaint to any act or
19   failure to act by a defendant or Defendants, such allegations and references shall also be
20   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
21   and severally.
22                                 JURISDICTION AND VENUE
23            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
24   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
25   seq.).
26            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
27   arising from the same nucleus of operating facts, are also brought under California law,
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 1   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 2   54, 54., 54.3 and 55.
 3         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 4         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 5   property which is the subject of this action is located in this district, Los Angeles County,
 6   California, and that all actions complained of herein take place in this district.
 7                                     FACTUAL ALLEGATIONS
 8         10.    In or about May of 2023, Plaintiff went to the Business.
 9         11.    The Business is a restaurant business establishment, open to the public, and
10   is a place of public accommodation that affects commerce through its operation.
11   Defendants provide parking spaces for customers.
12         12.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with his ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business.
15         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16   included, but were not limited to, the following:
17                a.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to post required signage such as “Van Accessible” and
20                       “Unauthorized Parking.”
21                b.     Defendants failed to maintain the parking space designated for
22                       persons with disabilities to comply with the federal and state
23                       standards. Defendants failed to maintain the paint on the ground as
24                       required.
25                c.     Defendants failed to comply with the federal and state standards for
26                       the parking space designated for persons with disabilities. Defendants
27                       failed to provide an access aisle with level surface slope.
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 1         14.    These barriers and conditions denied Plaintiff the full and equal access to the
 2   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 3   patronize the Business; however, Plaintiff is deterred from visiting the Business because
 4   his knowledge of these violations prevents him from returning until the barriers are
 5   removed.
 6         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 7   there are additional barriers to accessibility at the Business after further site inspection.
 8   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 9   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
10         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
11   knew that particular barriers render the Business inaccessible, violate state and federal
12   law, and interfere with access for the physically disabled.
13         17.    At all relevant times, Defendants had and still have control and dominion
14   over the conditions at this location and had and still have the financial resources to
15   remove these barriers without much difficulty or expenses to make the Business
16   accessible to the physically disabled in compliance with ADDAG and Title 24
17   regulations. Defendants have not removed such barriers and have not modified the
18   Business to conform to accessibility regulations.
19                                     FIRST CAUSE OF ACTION
20          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
21         18.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
24   shall be discriminated against on the basis of disability in the full and equal enjoyment of
25   the goods, services, facilities, privileges, advantages, or accommodations of any place of
26   public accommodation by any person who owns, leases, or leases to, or operates a place
27   of public accommodation. See 42 U.S.C. § 12182(a).
28         20.    Discrimination, inter alia, includes:



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 1          a.    A failure to make reasonable modification in policies, practices, or
 2                procedures, when such modifications are necessary to afford such
 3                goods, services, facilities, privileges, advantages, or accommodations
 4                to individuals with disabilities, unless the entity can demonstrate that
 5                making such modifications would fundamentally alter the nature of
 6                such goods, services, facilities, privileges, advantages, or
 7                accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8          b.    A failure to take such steps as may be necessary to ensure that no
 9                individual with a disability is excluded, denied services, segregated or
10                otherwise treated differently than other individuals because of the
11                absence of auxiliary aids and services, unless the entity can
12                demonstrate that taking such steps would fundamentally alter the
13                nature of the good, service, facility, privilege, advantage, or
14                accommodation being offered or would result in an undue burden. 42
15                U.S.C. § 12182(b)(2)(A)(iii).
16          c.    A failure to remove architectural barriers, and communication barriers
17                that are structural in nature, in existing facilities, and transportation
18                barriers in existing vehicles and rail passenger cars used by an
19                establishment for transporting individuals (not including barriers that
20                can only be removed through the retrofitting of vehicles or rail
21                passenger cars by the installation of a hydraulic or other lift), where
22                such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
23          d.    A failure to make alterations in such a manner that, to the maximum
24                extent feasible, the altered portions of the facility are readily
25                accessible to and usable by individuals with disabilities, including
26                individuals who use wheelchairs or to ensure that, to the maximum
27                extent feasible, the path of travel to the altered area and the
28                bathrooms, telephones, and drinking fountains serving the altered



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 1                       area, are readily accessible to and usable by individuals with
 2                       disabilities where such alterations to the path or travel or the
 3                       bathrooms, telephones, and drinking fountains serving the altered area
 4                       are not disproportionate to the overall alterations in terms of cost and
 5                       scope. 42 U.S.C. § 12183(a)(2).
 6         21.    Where parking spaces are provided, accessible parking spaces shall be
 7   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 8   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 9   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
10   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
11   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
12         22.    Under the ADA, the method and color of marking are to be addressed by
13   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
14   Building Code (“CBC”), the parking space identification signs shall include the
15   International Symbol of Accessibility. Parking identification signs shall be reflectorized
16   with a minimum area of 70 square inches. Additional language or an additional sign
17   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
18   parking space identification sign shall be permanently posted immediately adjacent and
19   visible from each parking space, shall be located with its centerline a maximum of 12
20   inches from the centerline of the parking space and may be posted on a wall at the
21   interior end of the parking space. See CBC § 11B-502.6, et seq.
22         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
23   each entrance to an off-street parking facility or immediately adjacent to on-site
24   accessible parking and visible from each parking space. The additional sign shall not be
25   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
26   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
27   designated accessible spaces not displaying distinguishing placards or special license
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 1   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 2   See CBC § 11B-502.8, et seq.
 3         24.    Here, Defendants failed to provide the sign stating “Van Accessible.”
 4   Moreover, Defendants failed to provide the additional sign with the specific language
 5   stating “Unauthorized vehicles parked in designated accessible spaces not displaying
 6   distinguishing placards or special license plates issued for persons with disabilities will
 7   be towed always at the owner’s expense…”
 8         25.    For the parking spaces, access aisles shall be marked with a blue painted
 9   borderline around their perimeter. The area within the blue borderlines shall be marked
10   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
11   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
12   be painted on the surface within each access aisle in white letters a minimum of 12 inches
13   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
14   11B-502.3.3.
15         26.    Here, Defendants failed to maintain the blue hatched lines painted on the
16   parking surface, which indicate the presence of the access aisle.
17         27.    Under the 1991 Standards, parking spaces and access aisles must be level
18   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
19   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
20   shall be part of an accessible route to the building or facility entrance and shall comply
21   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
22   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
23   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
24   directions. 1991 Standards § 4.6.3.
25         28.    Here, the access aisle is not level with the parking spaces. Under the 2010
26   Standards, access aisles shall be at the same level as the parking spaces they serve.
27   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
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 1   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 2   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
 3         29.      A public accommodation shall maintain in operable working condition those
 4   features of facilities and equipment that are required to be readily accessible to and usable
 5   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 6         30.      By failing to maintain the facility to be readily accessible and usable by
 7   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 8   regulations.
 9         31.      The Business has denied and continues to deny full and equal access to
10   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
11   discriminated against due to the lack of accessible facilities, and therefore, seeks
12   injunctive relief to alter facilities to make such facilities readily accessible to and usable
13   by individuals with disabilities.
14                                 SECOND CAUSE OF ACTION
15                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
16         32.      Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         33.      California Civil Code § 51 states, “All persons within the jurisdiction of this
19   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
20   national origin, disability, medical condition, genetic information, marital status, sexual
21   orientation, citizenship, primary language, or immigration status are entitled to the full
22   and equal accommodations, advantages, facilities, privileges, or services in all business
23   establishments of every kind whatsoever.”
24         34.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
25   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
26   for each and every offense for the actual damages, and any amount that may be
27   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
28   amount of actual damage but in no case less than four thousand dollars ($4,000) and any



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 1   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 2   person denied the rights provided in Section 51, 51.5, or 51.6.
 3         35.    California Civil Code § 51(f) specifies, “a violation of the right of any
 4   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 5   shall also constitute a violation of this section.”
 6         36.    The actions and omissions of Defendants alleged herein constitute a denial
 7   of full and equal accommodation, advantages, facilities, privileges, or services by
 8   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 9   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
10   51 and 52.
11         37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
12   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
13   damages as specified in California Civil Code §55.56(a)-(c).
14                                  THIRD CAUSE OF ACTION
15                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
16         38.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
19   entitled to full and equal access, as other members of the general public, to
20   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
21   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
22   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
23   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
24   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
25   places of public accommodations, amusement, or resort, and other places in which the
26   general public is invited, subject only to the conditions and limitations established by
27   law, or state or federal regulation, and applicable alike to all persons.
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 1         40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2   corporation who denies or interferes with admittance to or enjoyment of public facilities
 3   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5   the actual damages, and any amount as may be determined by a jury, or a court sitting
 6   without a jury, up to a maximum of three times the amount of actual damages but in no
 7   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8   determined by the court in addition thereto, suffered by any person denied the rights
 9   provided in Section 54, 54.1, and 54.2.
10         41.    California Civil Code § 54(d) specifies, “a violation of the right of an
11   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12   constitute a violation of this section, and nothing in this section shall be construed to limit
13   the access of any person in violation of that act.
14         42.    The actions and omissions of Defendants alleged herein constitute a denial
15   of full and equal accommodation, advantages, and facilities by physically disabled
16   persons within the meaning of California Civil Code § 54. Defendants have
17   discriminated against Plaintiff in violation of California Civil Code § 54.
18         43.    The violations of the California Disabled Persons Act caused Plaintiff to
19   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20   statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                FOURTH CAUSE OF ACTION
22                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
23         44.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         45.    Plaintiff and other similar physically disabled persons who require the use of
26   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
27   such facility is in compliance with the provisions of California Health & Safety Code §
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 1   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 2   provisions of California Health & Safety Code § 19955 et seq.
 3          46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 4   that public accommodations or facilities constructed in this state with private funds
 5   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 6   Title 1 of the Government Code. The code relating to such public accommodations also
 7   require that “when sanitary facilities are made available for the public, clients, or
 8   employees in these stations, centers, or buildings, they shall be made available for
 9   persons with disabilities.
10          47.    Title II of the ADA holds as a “general rule” that no individual shall be
11   discriminated against on the basis of disability in the full and equal enjoyment of goods
12   (or use), services, facilities, privileges, and accommodations offered by any person who
13   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
14   Further, each and every violation of the ADA also constitutes a separate and distinct
15   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
16   award of damages and injunctive relief pursuant to California law, including but not
17   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
18                                   FIFTH CAUSE OF ACTION
19                                         NEGLIGENCE
20          48.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22          49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24   to the Plaintiff.
25          50.    Defendants breached their duty of care by violating the provisions of ADA,
26   Unruh Civil Rights Act and California Disabled Persons Act.
27          51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28   has suffered damages.



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 1                                    PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3   Defendants as follows:
 4         1.     For preliminary and permanent injunction directing Defendants to comply
 5   with the Americans with Disability Act and the Unruh Civil Rights Act;
 6         2.     Award of all appropriate damages, including but not limited to statutory
 7   damages, general damages and treble damages in amounts, according to proof;
 8         3.     Award of all reasonable restitution for Defendants’ unfair competition
 9   practices;
10         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11   action;
12         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13         6.     Such other and further relief as the Court deems just and proper.
14                              DEMAND FOR TRIAL BY JURY
15         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
16   demands a trial by jury on all issues so triable.
17
18   Dated: August 4, 2023                   SO. CAL. EQUAL ACCESS GROUP
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21                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
22                                                  Attorneys for Plaintiff
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